














COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-08-435-CV



JARED EDMONDS
	
APPELLANT



V.



COMMONWEALTH FINANCIAL SYSTEMS, INC.
 	APPELLEE

 
	

----------

FROM COUNTY COURT AT LAW NO. 2 OF DENTON COUNTY

----------

MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

----------

We have considered the parties’ “Agreed Motion To Dismiss.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 
Tex. R. App. P.
 42.1(a)(2), 43.2(f).

Costs of the appeal shall be paid by the party incurring the same
, for which let execution issue. &nbsp;
See 
Tex. R. App. P.
 
43.4.



PER CURIAM

PANEL: &nbsp;MEIER, J.; CAYCE, C.J.; and LIVINGSTON, J.



DELIVERED: &nbsp;May 14, 2009

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




